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                                  RYAN BUSSE
                           440 Lake Hills Ln, Kalispell, MT 59901 · 406.253.0381
                                        www.ryanbusseauthor.com
    montanabusse@gmail.com · linkedin.com/ryan-busse · Twitter @ryandbusse · Instagram @ryanbusseauthor



                     SPEAKER · FIREARMS INDUSTRY EXPERT · AUTHOR

FIREARMS INDUSTRY AND GUN POLICY EXPERIENCE

      GUN INDUSTRY CAREER

          x   25-year sales and marketing executive leader with extensive industry connections and

          x
              knowledge

          x
              Pioneered industry-changing dealer direct sales method

          x
              Responsible for worldwide sales efforts and more than $250million in annual revenues

          x
              Built one of the firearms industry’s most respected worldwide sales teams from ground up.

          x
              Developed and managed multi-million-dollar budgets
              Deep and thorough understanding of all competitive industry sales channels, marketing

          x
              programs, and distribution methods
              Recognized multiple times by industry peers as one of three finalists for Industry Person of the

          x
              Year (highest personal award in the shooting industry)
              Expert on gun industry sales and marketing histories and current firearms industry trajectory


         x Wrote critically acclaimed first-ever firearms industry personal memoir: Gunfight – My Battle
      WRITING AND SPEAKING


         x Regular contributor to The Atlantic, The Bulwark, The Guardian, and others
            Against The Industry That Radicalized America (2021)

         x Guest on more than 60 national podcasts
         x Regular guest policy expert on CNN, MSNBC, PBS, NPR, ABC, CBS, and many others
         x Keynote speaker


         x Senior Policy Advisor to Giffords (2020-current)
      POLICY ADVISOR

         x Briefed United States Senate Democratic Caucus (2022)
         x Advisor to Biden for President campaign – Hunting and Outdoor issues (2020)
         x Testified before Joint Economic Committee (2022)
         x Testified before House Oversight and Reform Committee (2022)

          See another notable policy, podcast, cable news, and national publication updates at
                                      www.ryanbusseauthor.com


FIREARMS INDUSTRY AND CONSERVATION ORGANIZATION LEADERSHIP EXPERIENCE
      Kimber July 1995-Sept 2020, Kalispell, Montana & Yonkers, New York
      kimberamerica.com



                             EXHIBIT A (Busse)
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   VICE PRESIDENT, SALES                    EMPLOYEES: 560
   Overall worldwide sales authority, providing strategic leadership and direction of the most successful
   and pioneering dealer-direct sales model in the outdoor sporting goods industry. Lead projects, people
   and processes that build brand, drive innovation and retain competitive positioning.

       x   Created a highly successful, stand-alone sales operation and direct sales model producing
           exceptional employee work satisfaction, high efficiency and repeatable YOY sales results
       x   Produced consistent revenue growth by as much as 23% YOY
       x   Optimized operations and strategically cut costs during economic downturn, holding gross
           margins without increasing sales expense

   Backcountry Hunters & Anglers 2014 – 2020, Missoula, Montana
   backcountryhunters.org
   BOARD CHAIR, 2014-2020 EMPLOYEES: 38

   Backcountry Hunters & Anglers seeks to ensure North America's outdoor heritage of hunting and
   fishing in a natural setting, through education and work on behalf of wild public lands and waters.

       x   Drove membership with bold action and singular, strategic attention to public lands issues.
       x   Drove effort to partner with outdoor industry/community resulting in unexpected partnerships
           from brands such as Patagonia
       x   Played key leadership role in motivating nationwide “grasstops” to influence legislation such as
           SB 47 Passage (John Dingell Conservation, Management and Recreation Act)
       x   Lead public voice against reduction of National Monuments and degradation of Antiquities Act.

   Montana Conservation Voters 2007-2013, Helena, Montana
   mtvoters.org
   Montana Conservation Voters is a statewide membership organization serving as the political voice of
   Montana’s conservation and environmental community.

       x   Played key role in endorsement and election of conservation champions including U.S. Senator
           Jon Tester and Governor Steve Bullock
       x   Grew membership by 100% during tenure
       x   Guided campaigns for state and federal races with election-year budgets of $2M+
       x   Increased operation budget 75% during tenure
       x   Developed key foundation support to secure organizational funding
       x   Grew full-time employees from 3 to 5


   EDUCATION
    Bachelor of Science, History and Political Science, 1992
    Bethany College / Lindsborg, KS

    Professional Marketing and Sales Management Certification, 2006
    Rutgers University – School of Business / Camden, NJ




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